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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

AARON STRIZ, #00838215,                                 §
    Plaintiff,                                          §
                                                        §
v.                                                      §                  Civil Action No. 3:18-cv-0202
                                                        §
BRIAN COLLIER, ET AL.,                                  §
     Defendants.                                        §

       DEFENDANTS BUTCHER, PHARR, AND DAVIS’S MOTION TO DISMISS

        Defendants Michael Butcher, Kurtis Pharr, and Lisa Davis, through the Office of the Attorney

General for the State of Texas, file this Motion to Dismiss pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). In support of this motion, Defendants respectfully offer the

following:

I.      STATEMENT OF THE CASE

        Plaintiff Aaron Striz is an offender confined to the custody of the Texas Department of

Criminal Justice (“TDCJ”). Plaintiff proceeds pro se and in forma pauperis and brings this action pursuant

to 42 U.S.C. § 1983. In his complaint, Plaintiff alleges his due process rights were violated because he

has been housed in administrative segregation at the Darrington Unit in Rosharon, Texas. Plaintiff

seeks monetary damages and injunctive relief. At all times relevant to his claims, Defendants were

employed by TDCJ. Plaintiff sues Defendants in their official and individual capacities. Davis and

Pharr are still stationed at the Darrington Unit in the same positions they held at the times relevant to

Plaintiff’s claims. Butcher is now the senior warden at the Polunsky Unit in Beaumont, Texas. 1

        Defendants now move to dismiss Plaintiff’s claims for want of jurisdiction and for Plaintiff’s

failure to state a claim upon which relief may be granted.


1
 Federal Rule of Civil Procedure 25(d) allows for the automatic substitution of an official’s successor for an
official sued in his official capacity. Should this case proceed further, the current senior warden at the
Darrington Unit will be substituted for the official capacity claims brought against Butcher.

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II.     MOTION TO DISMISS PURSUANT TO RULE 12(b)(1)

        A.      Plaintiff’s claims for monetary damages against Defendants in their official
                capacities are barred by the Eleventh Amendment.

        Plaintiff’s claims for monetary damages against Defendants in their official capacity are barred

by the Eleventh Amendment. Neither a state nor a state official sued in his or her official capacity for

damages is a “person” for purposes of liability under § 1983. Will v. Michigan Dep’t. of State Police, 491

U.S. 58, 66 (1989). Moreover, a suit for damages against a state official in his or her official capacity is

not a suit against that individual but rather is a suit against the state. Id. The Eleventh Amendment to

the United States Constitution bars such suits against a state unless the state has waived its immunity

or Congress has abrogated immunity pursuant to its power under Section 5 of the Fourteenth

Amendment (in passing Section 1983, Congress “had no intention to disturb the States’ Eleventh

Amendment immunity”). Id. Neither Congress nor the State of Texas has waived Eleventh

Amendment immunity with regard to 42 U.S.C. § 1983. Id. Section 1983 provides a federal forum to

remedy the violation of constitutional rights, but “it does not provide a federal forum for litigants who

seek to remedy against a state for alleged deprivations of civil liberties.” Id.

        Because TDCJ is an agency of the State of Texas and Defendants were employed by TDCJ

and acting within their official capacity at all times relevant to Plaintiff’s claims, Plaintiff’s claims for

monetary damages against Defendants in their official capacities must be dismissed for lack of

jurisdiction.

III.    MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)

                A.       Standard of dismissal under Rule 12(b)(6).

        A party is entitled to dismissal under Federal Rule of Civil Procedure 12(b)(6) when an

opposing party fails to state a claim upon which relief may be granted. “To survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,

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550 U.S. 544, 570 (2007)); see also City of Clinton v. Pilgrim’s Pride Corp., 632 F.3d 148, 152-53 (5th Cir.

2010). “[F]acial plausibility” exists “when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

662 at 678 (citing Twombly, 550 U.S. at 556). Thus, while the complaint need not contain “detailed

factual allegations,” it must go beyond mere “labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 555. “[D]etermining whether a

complaint states a plausible claim is context-specific, requiring the reviewing court to draw on its

experience and common sense.” Iqbal, 556 U.S. at 679.

        B.     Plaintiff has failed to state a claim for a violation of a protected federal or
        constitutional right.

        Plaintiff claims that Defendants deprived him of due process when they assigned him to

administrative segregated housing after his transfer to the Darrington Unit.

        The threshold requirement of any due process claim is the government’s deprivation of a

liberty or property interest. DePree v. Saunders, 588 F.3d 282, 289 (5th Cir. 2009). Generally, inmates do

not have a protected liberty interest in custodial classifications. Whitley v. Hunt, 158 F.3d 882, 889 (5th

Cir. 1998). See also Sandin v. Conner, 515 U.S. 472, 485(1995) (finding no liberty interest in prisoner’s

administrative segregation absent atypical, significant deprivation); Luken v. Scott, 71 F.3d 192, 193 (5th

Cir. 1995); Moody v. Baker, 857 F.2d 256, 257–58 (5th Cir. 1988) (finding no protectable interest in

custody classification).

        “[A]bsent exigent circumstances, administrative segregation as such, being an incident to the

ordinary life of a prisoner, will never be a ground for a constitutional claim because it simply does not

constitute a deprivation of a constitutionally cognizable liberty interest.” Martin v. Scott, 156 F.3d 578,

580 (5th Cir. 1998) (quoting Pichardo v. Kinker, 73 F.3d 612, 612-13 (5th Cir. 1996) (internal quotations

omitted). Without first asserting a protected liberty interest, any alleged due process or other a




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constitutional violation arising from an inmates’ custodial classification is meritless. Harper v. Showers,

174 F.3d 716, 719 (5th Cir. 1999).

         Plaintiff alleges that he appeared before Pharr and other TDCJ officials on March 29, 2018,

for a housing assignment at Darrington. ECF No. 1 at 10. At that meeting, Plaintiff was assigned to

administrative segregation. Id. Plaintiff alleges that, at that time, officials determined he was not an

active gang member and acknowledged that his gang disassociation form was complete, but noted he

had Security Precaution Designator (or “SPD”) codes on his file. Id.

         After this initial classification, Plaintiff states that he had another classification hearing in April

2018. Id. According to Plaintiff, at that hearing, his SPD codes were reviewed. Id. Plaintiff notes that

his SPD codes stem from an escape from the Grimes County Jail prior to entering TDCJ. Id. at 8.

Plaintiff states that he explained his situation to Defendants, including the length of time between the

escape and his current incarceration, but Defendants did not remove the SPD codes from his file and

continued to house him in administrative segregation. Id. at 11.

         Here, Plaintiff has not alleged facts to demonstrate he has been subject to atypical, significant

deprivation while being housed in administrative segregation as to implicate a protected liberty

interest. In his complaint, Plaintiff states that Defendants improperly considered his escape from

Grimes County Jail and criminal convictions2 when determining his current classification. However,

Plaintiff alleges no facts that demonstrate that administrative segregation is an inappropriate

classification for an inmate with escape and assaultive precautions or that Defendants were prohibited

from considering Plaintiff’s SPD codes when assigning housing. Further, Plaintiff alleges that he had

multiple classification hearings when he was transferred to the Darrington Unit, and was given an



2
 In connection with Plaintiff’s escape from Grimes County Jail, he was convicted of two aggravated assaults on
public servants, when it was found that Plaintiff stabbed one jailor and struck another with a riot baton. See State v.
Aaron Striz, Cause No. 13,952, 12th Judicial District Court of Grimes County, sentence date September 9, 1998; and
State v. Aarron Striz, Cause No. 13,954, 12th Judicial District Court Grimes County, sentence date September 9,
1998.

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opportunity to explain his past conduct to TDCJ officials. TDCJ officials made the decision to assign

Plaintiff to administrative segregation only after these hearings. Plaintiff’s disagreement with TDCJ

officials’ decision is not enough to state a claim for a violation of a constitutional right.

          As the U.S. Supreme Court, and the Fifth Circuit have consistently held, absent extraordinary

circumstances, Plaintiff has no protected liberty interest in his custodial classification level. Thus,

Plaintiff fails to allege the kind of extraordinary circumstances that would support a constitutional

claim.

          C.      Plaintiff is not entitled to injunctive relief.

          To the extent Plaintiff seeks injunctive relief, the court in Ex Parte Young sets forth a narrow

exception to Eleventh Amendment immunity allowing prospective injunctive relief through official

capacity actions. 209 U.S. 123, 159-60 (1908). However, injunctive relief is “to be used sparingly, and

only in a clear and plain case.” Rizzo v. Goode, 423 U.S. 362, 378 (1976) (quoting Irwin v. Dixion, 50 U.S.

10, 13 (1850)). When a government agency is involved, a court must additionally observe the

requirement that the government be granted the “widest latitude in the dispatch of its own internal

affairs.” Id. at 378-79 (citations omitted); see also Lewis v. Casey, 518 U.S. 343, 349 (1996) (“[I]t is not

the role of courts, but that of the political branches, to shape the institutions of government in such

fashion as to comply with the laws and the Constitution.”).

          An inmate’s requests for injunctive relief must be viewed in conjunction with the requirements

of the Prison Litigation Reform Act (“PLRA”). Under PLRA, the court must find that the prospective

relief is “narrowly drawn, extends no further than necessary to correct the violation of the Federal

right, and is the least intrusive means necessary to correct the violation of the Federal right” before

granting injunctive relief. 18 U.S.C. § 3626(a). Although the PLRA significantly affects the type of

prospective injunctive relief that may be awarded, it has not substantially changed the threshold

findings and standards required to justify an injunction.


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        A party seeking an injunction must establish the following elements: 1) there is a substantial

likelihood the party will prevail on the merits; 2) a substantial threat exists that irreparable harm will

result if the injunction is not granted; 3) the threatened injury outweighs the threatened harm to the

defendants; and 4) the granting of the preliminary injunction will not disserve the public interest.

Sugarbusters v. Brennan, 177 F.3d 258, 265 (5th Cir. 1999); Lakedreams v. Taylor, 932 F.2d 1103, 1107 (5th

Cir. 1991); Canal Auth. of the State of Florida v. Calloway, 489 F.2d 567, 572 (5th Cir. 1974). Relief should

be granted only if the party seeking relief has clearly carried the burden of persuasion as to all four

elements. Black Fire Fighters Ass’n v. City of Dallas, 905 F.2d 63, 65 (5th Cir. 1990); Mississippi Power &

Light v. United Gas Pipe Line, 760 F.2d 618, 621 (5th Cir. 1985).

        Plaintiff seeks an injunction to order Defendants to release Plaintiff from administrative

segregation or to transfer him to the GRAD program. However, Plaintiff fails to demonstrate that

there has been a violation of a federal right. Consequently, Plaintiff fails to show that he is entitled to

injunctive relief in light of Ex Parte Young. Because he fails to satisfy the standards required to justify

an injunction, his request for injunctive relief should be dismissed.

        D.      Plaintiff’s claims for damages against Defendants in their individual capacities
                are barred by the Prison Litigation Reform Act absent a showing of a physical
                injury.

        An inmate’s suit under 42 U.S.C. § 1983 must also comply with the physical injury

requirements of PLRA. See 42 U.S.C. § 1997e(e).

        PLRA provides: “[n]o Federal civil action may be brought by a prisoner confined in a jail,

prison, or other correctional facility, for mental or emotional injury suffered while in custody without

a prior showing of physical injury or the commission of a sexual act.” 42 U.S.C. § 1997e(e). Further,

an inmate may not seek compensatory damages “for violations of federal law where no physical injury

is alleged.” Mayfield v. Texas Dep’t. of Criminal Justice, 529 F.3d 599, 605 (5th Cir. 2008).

        Plaintiff seeks damages for his confinement in administrative segregation. See ECF No. 1 at


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13. Under the PLRA his claims are barred absent a showing of physical injury. Here, Plaintiff

acknowledges that his has not suffered any physical injuries. See ECF No. 1 at 12, paragraph V.

Consequently, under the PLRA, Plaintiff is not entitled to bring suit solely for mental or emotional

injuries, nor is he entitled to compensatory damages for any claim for which he does not also allege a

physical injury. Because of the limitations of PLRA, Plaintiff claims should be dismissed for failing to

state a claim upon which relief may be granted.

        E.       Defendants are entitled to qualified immunity.

        To the extent Defendants are sued in their individual capacities, they are entitled to qualified

immunity. The doctrine of qualified immunity affords protection against individual liability for civil

damages to officials “insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982).

        “Qualified immunity is designed to shield from civil liability all but the plainly incompetent or

those who knowingly violate the law.” Brady v. Fort Bend Cty., 58 F.3d 173, 174 (5th Cir. 1995). To

determine whether a defendant is entitled to qualified immunity, the court engages in a two-step

inquiry. The court must first ascertain whether the plaintiff has sufficiently asserted the violation of a

constitutional right. Siegert v. Gilley, 111 S. Ct. 1789, 1793 (1991); see also Brewer v. Wilkinson, 3 F.3d 816,

820 (5th Cir. 1993), cert. denied, 510 U.S. 1123 (1994); Correa v. Fischer, 982 F.2d 931, 933 (5th Cir.

1993); Salas v. Carpenter, 980 F.2d 299, 305 (5th Cir. 1992). If the plaintiff has asserted the violation of

a constitutional right, the court must then determine whether that right had been clearly established

so that a reasonable official in the defendant’s situation would have understood that his conduct

violated that right. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); Anderson v. Creighton, 483 U.S. 635,

640 (1987).




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        As explained above, Plaintiff has not alleged a violation of any clearly established constitutional

rights by Defendants. Therefore, they are entitled to qualified immunity, and all claims against them

should be dismissed.

IV.     CONCLUSION

        Defendants request that Plaintiff’s claims against them be dismissed for lack of subject-matter

jurisdiction and for failure to state a claim upon which relief may be granted. Should the Court decline

to grant this motion, Defendants respectfully reserve the right to deny allegations against them and

reassert their defenses in an answer or motion for summary judgment.

                                                     Respectfully Submitted,

                                                     KEN PAXTON
                                                     Attorney General of Texas

                                                     JEFFREY C. MATEER
                                                     First Assistant Attorney General

                                                     BRANTLEY STARR
                                                     Deputy First Assistant Attorney General

                                                     DARREN L. MCCARTY
                                                     Deputy Attorney General for Civil Litigation

                                                     SHANNA E. MOLINARE
                                                     Assistant Attorney General
                                                     Chief, Law Enforcement Defense Division

                                                     /s/ Jeanine M. Coggeshall
                                                     JEANINE M. COGGESHALL
                                                     Assistant Attorney General
                                                     Southern District Bar No. 2563655
                                                     Texas State Bar No. 24083162
                                                     jeanine.coggeshall@oag.texas.gov
                                                     Attorney-in-charge

                                                     EVAN W. WELTGE
                                                     Assistant Attorney General
                                                     Southern District Bar No. 3356225
                                                     Texas State Bar No. 21152000
                                                     evan.weltge@oag.texas.gov


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                                                   Law Enforcement Defense Division
                                                   Office of the Attorney General
                                                   P.O. Box 12548, Capitol Station
                                                   Austin, Texas 78711-2548
                                                   (512) 463-2080 / Fax (512) 370-9811


                                                   ATTORNEYS FOR DEFENDANTS
                                                   BUTCHER, PHARR, AND DAVIS



                             NOTICE OF ELECTRONIC FILING

       I, Jeanine M. Coggeshall, Assistant Attorney General of Texas, certify that I have

electronically submitted for filing, a true and correct copy of the foregoing in accordance with the

Electronic Case Files System of the Southern District of Texas on February 11, 2019.

                                                   /s/ Jeanine M. Coggeshall______
                                                   JEANINE M. COGGESHALL
                                                   Assistant Attorney General



                                   CERTIFICATE OF SERVICE

       I, Jeanine M. Coggeshall, Assistant Attorney General of Texas, certify that a true and correct

copy of the foregoing has been served by placing same in the U.S. mail, first-class postage prepaid, on

February 11, 2019, addressed to:

Aaron Striz
TDCJ-CID# 838215
Darrington Unit
59 Darrington Road
Rosharon, TX 77583
Plaintiff Pro Se
                                                   /s/ Jeanine M. Coggeshall______
                                                   JEANINE M. COGGESHALL
                                                   Assistant Attorney General




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